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                              IN THE UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


IN RE:

PAUL SEBASTIAN ROBERTSON                                        CASE #: 6:23-bk-04879-LVV
                                                                Chapter 13
      Debtor.
_________________                _____     _/


                            OBJECTION TO CLAIM #8 OF LVNV FUNDING, LLC

                      NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

             If you object to the relief requested in this paper you must file a response with the Clerk of
     Court at 400 W Washington Street, Suite 5100, Orlando, FL 32801, and, a copy to the moving
     party’s attorney, Chad T. Van Horn, Esq. with Van Horn Law Group, P.A. at 500 NE 4th Avenue,
     Ste 200 Ft. Lauderdale FL 33301 within 30 days from the date of the attached proof of service, plus
     an additional three days if this paper was served on any party by U.S. Mail.

     If you file and serve a response within the time permitted, the Court will either notify you of a
     hearing date, or the Court will consider the response and grant or deny the relief requested in this
     paper without a hearing. If you do not file a response within the time permitted, the Court will
     consider that you do not oppose the relief requested in the paper, and the Court may grant or deny
     the relief requested without further notice or hearing.

     You should read these papers carefully and discuss them with your attorney if you have one. If
     the paper is an objection to your claim in this bankruptcy case, your claim may be reduced,
     modified, or eliminated if you do not timely file and serve a response.



         The Debtor, PAUL SEBASTIAN ROBERTSON, by and through the undersigned counsel, and files this
Objection to Claim #8 of LVNV FUNDING, LLC and as grounds therefore would state as follows:
1.       The Creditor filed an unsecured claim in the amount of $1,398.86 (Claim #8) on December 19, 2023.
2.       The Debtor objects to the proof of claim, as the last payment made to this liability was on April 2, 2007,
2012 and Charged Off on November 30, 2007; over five years prior to the petition date.
3.       Pursuant to Fla. Stat. § 95.11, the statute of limitations for collecting the type of alleged debt asserted by
the Claimant is, at a maximum, five years.


         WHEREFORE, Debtor, by and through the undersigned counsel, requests an Order sustaining
this objection disallowing Claim #8 of LVNV FUNDING, LLC and order such other relief as is just and proper.
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Respectfully submitted this 20th day of December 2023 by,


                                                            /s/ Chad T. Van Horn, Esq.
                                                            Van Horn Law Group, P.A.
                                                            500 NE 4th Street, Ste 200
                                                            Ft. Lauderdale, FL 33301
                                                            Ph: (954) 637-0000
                                                            Facsimile: (954) 756-7103
                                                            chad@cvhlawgroup.com
                                                            FLA Bar: 64500



                                      CERTIFICATE OF SERVICE

           I hereby certify that on December 20, 2023, a copy of the Debtor’s Objection to Claim #8

of LVNV FUNDING, LLC was served electronically to:

United States Trustee - ORL7/13, 7
USTP.Region21.OR.ECF@usdoj.gov

Laurie K Weatherford
ecfdailysummary@c13orl.com

By regular United States mail to:

Resurgent Capital Services
Attn: Mark Stidham
PO Box 10587
Greenville, SC 29603

Resurgent Capital Services
PO Box 10587
Greenville, SC 29603

LVNV Funding, LLC
355 S Main Street
Suite 300-D
Greenville, SC 29601

Corporation Service Company
As Registered Agent for LVNV Funding, LLC
1201 Hays Street
Tallahassee, FL 32301
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Date: December 20, 2023

                                                   /s/ Chad T. Van Horn, Esq.
                                                   Van Horn Law Group, P.A.
                                                   500 NE 4th Street, Ste 200
                                                   Ft. Lauderdale, FL 33301
                                                   Ph: (954) 637-0000
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